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                                                   U. S.   DEPARTMENT OPJUSTTCE

                                                   Un/ted States Attornej/s Oil/ce
                                                   Northern I)/strict of West Vi&nia
                                                  United States Courthouse
                                                  1125 Chapline Street, Suite 3000   Phone:   (304) 2340100
                                                  P.O.Box591                         FAX:     (304)234—0113
                                                  Wheeling, WV 26003


                                                    May26, 2017
                                                                                                         FILED
                                                                                                      JAN 192018
  Mr Perry D. McDaniel
  Associate Regional Counsel                                            177
  Environmental Protection Agency
  Robert C. Byrd Courthouse
  300 Virginia Street, East, Suite 4000
  Charleston, WV 25301


 Pursuant to 28 U.S.C.543, effective the date of this letter you are hereby appointed as
 a Special Assistant United States Attorney for the Northern District of West Virginia,
 subject tothe following conditions:


     1. You are appointed to assist the Office with matters originating in the Northern
        District of West Virginia regarding the investigations and prosecutions of federal
        criminal environmental laws.

    2. The appointment expires on May 25, 2018, unless extended.

    3. You will report to and act under the direction of Randy Bernard, Criminal Chief.
       with regard to any matters handled.

    4. You understand and agree to serve without compensation other than that which
       you are now receiving under your existing appointment. Routine travel expenses
       will be paid by the Environmental Protection Agency.

    5. This appointment may be terminated at any time without cause or notice.

    6. You must execute and return to the Personnel Staff within 14 days the enclosed
       Appointment Affidavit containing the oath of office, Statement of Appointment
       Conditions, and a signed copy of this letter. Your signature in the space provided
       below acknowledges your agreement to the terms and conditions of this
       appointment.
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  McDaniel Appointment 2017                   2 of 2



  Thank you for the assistance you are providing to the United States Attorney’s Office for
  the Northern Distñct of West Virginia,                         V




                                                       Sincerely.
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             V

                                                       Be1sy Sfeinfeld4ividei
     V
                               V
                                                       Acting United states Attorney   V




  Enclosures



  The foregoing t rms       d conditions are hereby agreed to and accepted:


                        V
                                              Date:         -3C -Zo /
  Peky D. McDaniel
